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2/20/2024
                       Type: Invoices Status: Open Delivery Method: Any Date: All
   Date         Type      No.     Customer    Due date      Aging       Balance       Amount      Status
                                 Michigan
                                 Health
11/06/2023   Invoice   10280     Clinics     11/06/2023   106       $      3,853.00    3,853.00 overdue
                                 Michigan
                                 Health
09/18/2023   Invoice   10248     Clinics     09/18/2023   155       $      1,569.90    1,569.90 overdue
                                 Michigan
                                 Health
09/06/2023   Invoice   10241     Clinics     09/06/2023   167       $     14,387.36   14,387.36 overdue
                                 Michigan
                                 Health
08/31/2023   Invoice   10236     Clinics     08/31/2023   173       $        713.16     713.16 overdue
                                 Michigan
                                 Health
08/01/2023   Invoice   10219     Clinics     08/01/2023   203       $     22,313.72   22,313.72 overdue
                                 Michigan
                                 Health
07/31/2023   Invoice   10215     Clinics     07/31/2023   204       $      2,805.68    5,805.68 overdue
                                 Michigan
                                 Health
07/29/2023   Invoice   10214     Clinics     07/29/2023   206       $     18,650.29   18,650.29 overdue
                                 Michigan
                                 Health
07/14/2023   Invoice   10202     Clinics     07/14/2023   221       $        135.14    2,339.87 overdue
                                 Michigan
                                 Health
07/07/2023   Invoice   10201     Clinics     07/07/2023   228       $     14,986.83   14,986.83 overdue
                                 Michigan
                                 Health
07/05/2023   Invoice   10200     Clinics     07/05/2023   230       $         13.61     286.02 overdue
                                 Michigan
                                 Health
06/19/2023   Invoice   10187     Clinics     06/19/2023   246       $     15,985.95   15,985.95 overdue
                                 Michigan
                                 Health
05/03/2023   Invoice   10147     Clinics     05/03/2023   293       $      2,217.89   14,154.29 overdue
                                 Michigan
                                 Health
04/05/2023   Invoice   10115     Clinics     04/05/2023   321       $        879.90    5,615.36 overdue
                                 Michigan
                                 Health
04/03/2023   Invoice   10121     Clinics     04/03/2023   323       $      2,928.79   17,112.08 overdue


                                                          Total     $ 101,441.22




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